                  UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

In re Richard Miller                              Case No. 19-46148-mar
                                                  Chapter 7
                                                  Hon. Mark A. Randon
          Debtor.
_________________________________             /

Richard Miller,

              Plaintiff,                          Adversary Pro. No. 19-04300-mar

v.

Comcast of Detroit, LLC,

          Defendant.                          /
_________________________________

        STIPULATION TO A ONE-DAY EXTENSION OF DISCOVERY
             DEADLINE TO TAKE PLAINTIFF’S DEPOSITION

        COME NOW Plaintiff and Defendant and, subject to Court approval, hereby

stipulate and agree as follows:

        1.   Pursuant to the Court’s Adversary Proceeding Scheduling Order (Doc.

29), the discovery period is set to terminate on August 26, 2020.

        2.   Due to scheduling conflicts, Defendant’s counsel is unable to depose

Plaintiff prior to August 26, 2020. The next date Plaintiff is available is August 27,

2020.

        3.   As a result, the parties stipulate and agree that Defendant shall have



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until August 27, 2020, to depose Plaintiff.           Defendant reserves all rights in

connection with Plaintiff’s deposition.

      4.     All other deadlines set forth in the Court’s Adversary Proceeding

Scheduling Order shall remain unchanged.



STIPULATED AND AGREED BY:

/s/ Steven A. Thomas                            /s/ J. Adam Behrendt
Stephen A. Thomas (P43260)                      J. Adam Behrendt (P58607)
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                                                Detroit, LLC


Dated: August 10, 2020




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